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             UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION

JEREMY BRYAN HALES,
    Plaintiff,

vs.                                       Case No.: 1:25cv58/RH/ZCB

JOHN COOK, et al.,
   Defendants.
                                  /

                                  ORDER

       Defendants John Cook and Lynette Preston were personally served

with Plaintiff’s complaint on March 24, 2025.            (See Docs. 19, 20).

Accordingly, their responsive pleadings were due on April 15, 2025. That

deadline passed, and neither Defendant Cook nor Defendant Preston

responded or otherwise appeared in the case. Plaintiff moved for entry

of default (Doc. 21), and the Clerk of Court entered default under Fed. R.

Civ. P. 55(a) against Defendants Cook and Preston on April 17, 2025

(Doc. 22).

       On April 18, 2025, Defendants Cook and Preston moved to set aside

the default and requested twenty-one days to file responsive pleadings to




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Plaintiff’s amended complaint.1 (Docs. 23, 24). Defendants Cook and

Preston claim good cause exists to set aside the default because they are

indigent, proceeding pro se, and involved in several other lawsuits with

Plaintiff. (Id. at 1). Defendants Cook and Preston state that they “lost

track of the date” they were served. (Id.). They also state they are “not

ignoring this or trying to avoid responding” and that they intend to

defend against Plaintiff’s claims. (Id.).

     A district court “may set aside an entry of default for good cause.”

Fed. R. Civ. P. 55(c); see also Afr. Methodist Episcopal Church, Inc. v.

Ward, 185 F.3d 1201, 1202 (11th Cir. 1999) (“[A] district court may set

aside an entry of default only if the defaulting party can provide a good

reason for the district court to do so.”). Good cause warrants a case-by-

case analysis, including consideration of the following: “(a) whether the

default was culpable or willful; (b) whether setting it aside would

prejudice the adversary, (c) whether the defaulting party presents a

meritorious defense; (d) whether there was significant financial loss to

the defaulting party; and (e) whether the defaulting party acted promptly

to correct the default.” SEC v. Johnson, 436 F. App’x 939, 945 (11th Cir.


1 Plaintiff’s amended complaint has not yet been filed.   (See Doc. 17)

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2011) (citation omitted); see also Hester v. Gulfstream Prop. & Cas. Ins.

Co., No. 5:19cv170-MCR-MJF, 2019 WL 8063349, at *2 (N.D. Fla. Nov.

8, 2019) (setting aside an entry of default when there was only minimal

delay, no willfulness or prejudice shown, and the party asserted a

potentially meritorious defense in the case).      Defaults are generally

disfavored, as “there is a strong policy of determining cases on their

merits.” In re Worldwide Web Sys., 328 F.3d 1291, 1295 (11th Cir. 2003).

     The Court finds good cause for setting aside the entry of default

against Defendants Cook and Preston. Here, there is no evidence that

their failure to file a responsive pleading was culpable or willful. (Doc.

23 at 1; Doc. 24 at 1). Only one day after the Clerk of Court entered

default, Defendants Cook and Preston appeared in the case and moved

to set aside default. (Id.). Thus, Defendants Cook and Preston acted

promptly to correct the default.

     Additionally, there is no evidence that setting aside the entry of

default would result in any prejudice to Plaintiff.            Several other

Defendants do not appear to have been served yet, and Plaintiff is in the

process of preparing an amended complaint that has yet to be filed. (See

Doc. 17). Although Defendants Cook and Preston have not yet filed a


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responsive pleading in the case, any response to the original complaint

would be quickly superseded given the forthcoming amended complaint.

Finally, there is no indication that Defendants Cook or Preston suffered

a significant financial loss in conjunction with the default. For these

reasons, the Court finds good cause to set aside the entry of default.

     Accordingly, it is ORDERED that Defendant Cook’s and

Defendant Preston’s Motions to Set Aside Default (Docs. 23, 24) are

GRANTED, and the Clerk of Court is directed to set aside the entry of

default against Defendants Cook and Preston (Doc. 22).2 Defendants

Cook and Preston must respond to Plaintiff’s amended complaint within

twenty-one days after the amended complaint is filed.3

     DONE AND ORDERED this 21st day of April 2025.

                            /s/Zachary C. Bolitho
                            Zachary C. Bolitho
                            United States Magistrate Judge



2 Because Defendant Hughes has neither appeared nor moved to set aside

the default entered against her (Doc. 22), the Clerk’s default remains in
effect as to Defendant Hughes.
3 Plaintiff is reminded that since Defendants Preston and Cook are

proceeding pro se at this time, they are not registered in the CM/ECF
system and pleadings must be served on them via U.S. Mail. The
certificate of service shall reflect the date on which Plaintiff served
Defendants Preston and Cook via U.S. Mail.

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